981 F.2d 1250
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William Christopher BROWN, Petitioner-Appellant,v.Richard D. BENNETT, Respondent-Appellee.
    No. 92-7011.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  November 30, 1992Decided:  December 18, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Alexander Harvey, II, Senior District Judge.
      William Christopher Brown, Appellant Pro Se.
      D.Md.
      AFFIRMED.
      Before WILKINS and NIEMEYER, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      William Christopher Brown appeals from the district court's order denying his petition for writ of mandamus.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Brown v. Bennett, No. CA-92-2629-H (D. Md. Sep. 23, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    